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 Attorneys for Plaintiff/Counter-Defendant Allstate Life Insurance Company

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 ALLSTATE LIFE INSURANCE COMPANY,      §
                                       §
            Plaintiffs,                §
                                       §
       v.                              §                     Case No. 3:15 CV 8251 - AET-TJB
                                       §
 JEFFREY STILLWELL, THERESA FRANCY,    §                     MOTION FOR LEAVE TO
 And STILLWELL FINANCIAL ADVISORS, LLC §                     SUBSTITUTE COUNSEL AND
                                       §                     TO WITHDRAW AS COUNSEL
            Defendants.                §                     FOR PLAINTIFF


          Now come James Yu and Robyn Marsh of the law firm Seyfarth Shaw LLP,

 (collectively, “Counsel”), as counsel of record for Plaintiff Allstate Life Insurance Company

 (“Plaintiff”), and move this Court for leave to substitute new counsel, and for Counsel to

 withdraw their appearance as counsel, for Plaintiff in the above-captioned action and any

 subsequent proceedings related thereto. In support thereof, Counsel state as follows:

          1.    Counsel has represented Plaintiff in the above-captioned action since

 commencement of this action.




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          2.     Plaintiff recently retained attorneys J. Scott Humphrey and Daniel Meier of the

 law firm Benesch Friedlander Coplan and Aronoff, LLP, to represent Plaintiff in all matters

 relating to the above-captioned action.

          3.     Pursuant to Local Rule 102.1 of the United States District Court for the District of

 New Jersey, an attorney of record in a proceeding in which the appearance was filed may not

 withdraw without first obtaining leave of Court.

          4.     Accordingly and pursuant to Local Rule 102.1, Counsel hereby seeks leave to: (a)

 substitute attorneys J. Scott Humphrey and Daniel Meier and the law firm Benesch Friedlander

 Coplan and Aronoff as counsel of record for Plaintiff in the above-captioned action; and (2)

 permit the withdrawal of James Yu, Robyn Marsh and the law firm Seyfarth Shaw, LLP as

 counsel for Plaintiff in this action.

          5.     Counsel have advised Plaintiff of their intention to file the subject motion and

 have served this motion on Plaintiff.

          6.     The Court, Plaintiff, and Defendants will not suffer any prejudice as a result of

 Counsel’s withdrawal as counsel of record in this action. Therefore, Counsel have demonstrated

 good cause for their withdrawal at this time, and the Court should grant Counsel’s request for

 leave to withdraw as counsel of record for Plaintiff, and to substitute new counsel for Plaintiffs.

          7.     Counsel further request that the Court and Plaintiff serve all future pleadings,

 notices, correspondence and other documents directly upon Plaintiffs’ new counsel:

                                 J. Scott Humphrey
                                 Benesch Friedlander Coplan and Aronoff, LLP
                                 71 South Wacker Drive – Suite 1600
                                 Chicago, Illinois 60606




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                                 And

                                 Daniel Meier
                                 Benesch Friedlander Coplan and Aronoff, LLP
                                 17 State Street - Suite 4000
                                 New York, New York 10004

          WHEREFORE, James Yu, Robyn Marsh and the law firm Seyfarth Shaw LLP,

 respectfully request that the Court enter an order granting them leave to withdraw as counsel of

 record for Plaintiff Allstate Life Insurance Company, to substitute new counsel for Plaintiff as

 set forth herein, and for such other relief as is just and equitable.

 Date: November 5, 2021                          Respectfully submitted,

                                                 SEYFARTH SHAW LLP


                                                 By: /s/ James S. Yu
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                                                 Attorneys for Plaintiff Allstate Life Insurance
                                                 Company




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                                   CERTIFICATE OF SERVICE

          The undersigned attorney hereby certifies that on November 5, 2021, he electronically

 filed the foregoing with the Clerk of the Court using the ECF system, which will send

 notification to all counsel of record.

                                              /s/ James S. Yu
                                                     James S. Yu




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